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                    UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                           CR. NO. 4:23-CR-159

                  v.
                                                    (Chief JudgeBrann )
CEDRIC LODGE,
KATRINA MACLEAN,
JOSHUA TAYLOR and
DENISE LODGE,
           Defendants.


                               INDICTMENT

THE GRAND JURY CHARGES:
                                                                     FILED
                                    COUNT 1                        SCRANTON
                                  18 U.S.C. § 371                   JUN 13 2023
                                   (Conspiracy)
                                                             PER       JU.C
                                                                     DEPUTY CLERK
I.       Background

         At times material to the Indictment:

         A.    Relevant Individuals and Entities

         1.    Harvard Medical School ("HMS"), located in Boston

Massachusetts, was the graduate medical school of Harvard University,

a private, non-profit educational institution.

         2.    CEDRIC LODGE resided in Goffstown, New Hampshire,

and was employed by Harvard Medical School as the Morgue Manager.
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